        Case 1:23-cv-02904-SEG Document 110 Filed 08/23/23 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

   EMMA KOE et al.,

                             Plaintiffs,

                 v.
                                                   Civil Action No. 1:23-cv-
   CAYLEE NOGGLE et al.,                           02904-SEG

                           Defendants.




        PLAINTIFFS’ MOTION FOR EXTENSION OF TIME
 TO RESPOND TO DEFENDANTS’ MOTION FOR RECONSIDERATION

      TO THE HONORABLE UNITED STATES DISTRICT COURT:

      Pursuant to Local Rule 7.4 and the Court’s Standing Order Regarding Civil

Litigation, Part III.C., Plaintiffs hereby file this Motion for Extension of Time to

Respond to Defendants’ Motion for Reconsideration (ECF No. 108). In support

thereof, Plaintiffs state as follows:

      1.     Defendants filed their Motion for Reconsideration on August 22, 2023.

      2.     On that same day the Court issued an order requiring Plaintiffs to

respond to Defendants’ Motion for Reconsideration by Friday, August 25, 2023, and

for Defendants to reply by Tuesday, August 29, 2023 (ECF No. 109).

      3.     On August 22, 2023, counsel for Plaintiffs contacted court reporter
       Case 1:23-cv-02904-SEG Document 110 Filed 08/23/23 Page 2 of 4




Melissa Brock and requested a copy of the official transcript of the preliminary

injunction hearing that was held on August 10 and 11, 2023.

      4.     On August 23, 2023, Ms. Brock informed counsel for Plaintiffs that the

transcript will not be available until August 28, 2023.

      5.     Plaintiffs therefore respectfully request that the Court extend Plaintiffs’

deadline to respond to Defendants’ Motion for Reconsideration to August 30, 2023,

in order to enable Plaintiffs to incorporate testimony from the preliminary injunction

hearing in their response.

      6.     Plaintiffs contacted counsel for Defendants pursuant to the Court’s

Standing Order Regarding Civil Litigation, Part III.C. to meet and confer. Counsel

for Defendants indicated that they oppose Plaintiffs’ Motion.

      WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that

the Court extend Plaintiffs’ deadline to respond to Defendants’ Motion for

Reconsideration to August 30, 2023.


      Respectfully submitted this 23th day of August, 2023.

SOUTHERN POVERTY LAW                        O’MELVENY & MYERS
CENTER                                      /s/ Benjamin G. Bradshaw
Elizabeth Littrell                          Benjamin G. Bradshaw*
Maya Rajaratnam                             Deanna M. Rice*
150 Ponce de Leon Ave.                      Meredith Garagiola*
Ste. 340, Decatur GA 30030                  Danielle Siegel*
Fax: (404) 221-5857                         Patric Reinbold*
Email: Beth.Littrell@splcenter.org          Carly Gibbs*
Phone: (404) 221-5876                       O’MELVENY & MYERS LLP
       Case 1:23-cv-02904-SEG Document 110 Filed 08/23/23 Page 3 of 4




 Maya.Rajaratnam@splcenter.org        1625 Eye Street N.W.
 Phone: (334) 398-0328                Washington, DC 20006
 Scott D. McCoy*                      Tel: 202-383-5300
 2 Biscayne Boulevard, Suite 3750     bbradshaw@omm.com
 Miami, FL 33131                      drice@omm.com
 Email: Scott.McCoy@splcenter.org     mgaragiola@omm.com
 Phone: (334) 224-4309                dsiegel@omm.com
                                      preinbold@omm.com
 AMERICAN CIVIL LIBERTIES             cgibbs@omm.com
 UNION FOUNDATION OF
 GEORGIA                              Stephen McIntyre*
 Cory Isaacson                        O’MELVENY & MYERS LLP
 Nneka Ewulonu                        400 South Hope Street, 18th Floor
 AMERICAN CIVIL LIBERTIES             Los Angeles, CA 90071-2899
 UNION FOUNDATION OF                  Tel: 213-430-6000
 GEORGIA                              smcintyre@omm.com
 P.O. Box 570738
 Atlanta, GA 30357                    Paul Sieben*
 Telephone: (770) 415-5490            O’MELVENY & MYERS LLP
 CIsaacson@acluga.org                 2765 Sand Hill Road
 NEwulonu@acluga.org                  Menlo Park, CA 94025-7019
                                      Tel: 650-473-2600
                                      psieben@omm.com
 HUMAN RIGHTS CAMPAIGN
 FOUNDATION                           Jennifer Beard*
 Cynthia Cheng-Wun Weaver*            O’MELVENY & MYERS LLP
 Ami Rakesh Patel*                    Two Embarcadero Center
 1640 Rhode Island Avenue NW          28th Floor
 Washington, D.C. 20036               San Francisco, CA 94111-3823
 (202) 993-4180                       Tel: 415-984-8700
 Cynthia.Weaver@hrc.org               jbeard@omm.com
 Ami.Patel@hrc.org
                                      *Admitted pro hac vice




Attorneys for Plaintiffs
       Case 1:23-cv-02904-SEG Document 110 Filed 08/23/23 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that, on August 23, 2023, I electronically filed the foregoing

with the Court and served it on opposing counsel through the Court’s CM/ECF

system. All counsel of record are registered ECF users.

                                             /s/ Benjamin G. Bradshaw
                                             Benjamin G. Bradshaw
